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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

In the Matter of the Application of

IOAN MICULA,
VIOREL MICULA,
S.C. EUROPEAN FOOD S.A.,
S.C. STARMILL S.R.L., and                               Civil Action No. 1:17-cv-02332-APM
S.C. MULTIPACK S.R.L.,
                                       Petitioners,

       v.

THE GOVERNMENT OF ROMANIA,

                                       Respondent.


       CONSENT MOTION FOR LEAVE TO FILE A BRIEF ON BEHALF OF
            THE EUROPEAN COMMISSION AS AMICUS CURIAE

       Pursuant to LCvR 7(o), The European Commission (“the Commission”) respectfully

requests leave to file a brief as amicus curiae in support of the Government of Romania in the

above-captioned case. In support of its motion, proposed amicus curiae states as follows:

       1.      The Commission is one of the institutions of the European Union (“E.U.”), a

supranational organization comprising twenty-eight nations governed by E.U. law. E.U. law

is based on the E.U.’s founding treaties—including the Treaty on European Union, Oct. 26,

2012, 2012 O.J. (C 326) 13 (“TEU”), and the Treaty on the Functioning of the European

Union, Oct. 26, 2012, 2012 O.J. (C 326) 47 (“TFEU”)—as well as secondary legislation

adopted on the basis of those Treaties. E.U. law has “primacy over the laws of the Member

States” and is “applicable to their nationals and to the Member States themselves.” Case C-

286/14, Slovak Republic v. Achmea BV, ECLI:EU:C:2018:158, ¶ 33. As an E.U. Member

State, Romania is bound by E.U. law.

       2.      The Commission is responsible for ensuring the proper application of the E.U.

treaties and of measures E.U. institutions adopt under those treaties. TEU art. 17. It also has
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the power to initiate infringement proceedings before the Court of Justice of the European

Union against Member States that fail to comply with their treaty obligations and may ask that

court to impose penalty payments on the Member State concerned until it has ceased the

infringement. TFEU arts. 258 and 260(2). With the exception of the E.U.’s common foreign

and security policy and other matters specifically provided for in the E.U. Treaties, the

Commission conducts the E.U.’s external representation. TEU art. 17; TFEU art. 335.

        3.     Petitioners have filed a petition before this Court to confirm an arbitration

award rendered against Romania by the International Center for Settlement of Investment

Disputes (“ICSID”) on December 11, 2013.          See Micula v. Romania, ICSID Case No.

ARB/05/20, Award (Dec. 11, 2013)) (“the Award”). The Commission has a substantial

interest in this case for two reasons.

        4.     First, Petitioners seek relief that, if granted, would compel Romania to take

actions that violate E.U. law and subject Romania to significant legal sanctions under E.U.

law.   E.U. law prohibits Member States from granting subsidies to economic operators

without the Commission’s express authorization. TFEU art. 107(1) (“any aid granted by a

Member State . . . shall . . . be incompatible with the internal market”); see id. art. 108(3).

Such subsidies constitute unlawful “State aid,” and a Member State must recover State aid

from its beneficiary if ordered by a Commission decision.          See id. art. 108(2) (“[the

Commission] shall decide that the State concerned shall abolish . . . such aid”); Council

Regulation 2015/1589, art. 16(1), 2015 O.J. (L 248) 99 (“Where negative decisions are taken

in cases of unlawful aid, the Commission shall decide that the Member State concerned shall

take all necessary measures to recover the aid from the beneficiary.”). In March 2015, the

Commission adopted an administrative decision by which it declared the implementation of

the Award to constitute unlawful “State aid” incompatible with the E.U.’s internal market

(“the State Aid Decision”). Commission Decision C(2015)2112 of 30 March 2015 in State
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aid Case SA.38517 – Arbitral award Micula v Romania of 11 December 2013, 2015 O.J. (L

232) 43. The State Aid Decision prohibits Romania from implementing the Award, whether

voluntarily or by forced execution, and orders Romania to recover any compensation already

paid to Petitioners. Id. arts. 1-2. A judgment confirming the award and requiring Romania to

implement it would directly contravene that decision.

       5.     Furthermore, the Award was rendered on the basis of an arbitration clause

contained in a bilateral investment treaty concluded between Romania and Sweden. E.U. law

prohibits Member States from maintaining bilateral investment treaties in force between

themselves and from subjecting disputes arising from those treaties to arbitration. Case C-

286/14, Achmea, ¶ 60. An arbitral award rendered on the basis of such a treaty—like the

Award here—is therefore unenforceable. See Communication from the Commission to the

European Parliament and the Council, Jul 19, 2018, “Protection of intra-EU investment”,

COM(2018) 547 final, p. 3.

       6.     The Commission has consistently defended its interest in ensuring that E.U.

law is upheld in relation to the dispute underlying the Award and the subsequent

implementation of the Award.      It intervened as a non-disputing party in the underlying

arbitration and before the ICSID ad hoc Committee. It has intervened in proceedings in

which Petitioners have sought the recognition or enforcement of the Award in five E.U.

Member States—Belgium, Luxembourg, Romania, Sweden, and the United Kingdom. It

submitted a brief as amicus curiae in proceedings in which Petitioners sought recognition of

the Award before the District Court of the Southern District of New York and, on appeal,

before the Second Circuit, with both courts granting the Commission amicus curiae status.

See Br for Amicus Curiae The Commission of the European Union, No. 15-3109 (2d Cir. Feb.

4, 2016) (Dkt. 84); Amicus Curiae Brief of the Commission of the European Union, No. 1:15-

mc-00107-LGS (S.D.N.Y. June 26, 2015) (Dkt. 43-1). In addition, Petitioners have sought
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the annulment of the State Aid Decision before the E.U. Court of Justice, where the

Commission is a defendant.

       7.      Granting the petition in this case would directly undermine the State Aid

Decision and require Romania to infringe its E.U. law obligations, which it may not do under

threat of sanctions. It would also interfere with legal proceedings currently pending before

the E.U. Court of Justice regarding the validity of the State Aid Decision, and circumvent

orders and judgments rendered by the national courts of five E.U. Member States that have

stayed the enforcement of the Award until the E.U. Court of Justice has decided on the

validity of the State Aid Decision.

       8.      In light of these concerns, the Commission plans to argue in its proposed

amicus brief that the international comity doctrine, the act of state doctrine, and the sovereign

foreign compulsion doctrine mandate denying and dismissing the Petition. The Commission

made similar arguments in the amicus briefs it filed in the Southern District of New York and

the Second Circuit. See supra ¶ 6. The Commission retains a strong interest in ensuring that

E.U. law is upheld, that the propriety of its decisions is reviewed by the E.U.’s highest court,

and that other countries’ courts defer to E.U. proceedings in the interests of international

comity. Furthermore, consideration of these arguments would aid the Court’s consideration

of these important issues on questions that touch directly on the Nation’s foreign affairs.

       9.      Second, and independent of its interest in the enforcement of E.U. law, the

Commission has a strong interest in ensuring that this case is decided based on a correct

interpretation of E.U. law. In their recent submissions to the Court, both the Government of

Romania and Petitioners have made numerous representations about E.U. law, including the

State Aid Decision, the nature of pending proceedings in the E.U. Court of Justice, and the

consequences under E.U. law if the petition were granted. See Mem. of Law in Opp. to Pet.

to Confirm ICSID Arbitration Award 1-4, 10-12, 16-17, 25-29, Dkt. 51; Mem. of Law in
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Support of Mot. for Judgment on the Pleadings 33-38, Dkt. 55-1. Those assertions about E.U.

law are directly relevant to the resolution of Romania’s arguments based on the act of state

doctrine and the foreign sovereign compulsion. In its amicus brief, the Commission would

offer additional insights and clarity regarding the E.U. legal issues that both parties have

raised.

          10.   The Commission’s position is not adequately represented by any party. As the

author of the State Aid Decision, the institution responsible for ensuring the proper

application of E.U. law, and an active participant in a variety of legal proceedings concerning

the recognition and enforcement of the Award, the Commission is well placed to offer a

unique perspective to the Court. No other party in this case has authority to speak on behalf

of the E.U., whose interests are directly implicated by this case. Furthermore, because of its

expertise and responsibility for administering E.U. law, the Commission is uniquely

positioned to describe the consequences of an adverse judgment for the E.U. legal system and

its Member States more broadly. The Supreme Court has recently reiterated the importance

of granting “respectful consideration” to the views of foreign governments on the meaning of

foreign law, Animal Sci. Prods., Inc. v. Hebei Welcome Pharm. Co., 138 S. Ct. 1865, 1869

(2018); cf. Fed. R. Civ. P. 44.1, and the Commission has filed amicus briefs before U.S.

federal courts in other cases in which the E.U.’s vital interests were implicated. See, e.g.,

Brief of the European Commission on Behalf of the European Union as Amicus Curiae in

Support of Neither Party, United States v. Microsoft Corp., 138 S. Ct. 1186 (2018) (No. 17-2).

          11.   Accordingly, the Commission respectfully requests leave to file an amicus

curiae brief in support of the Government of Romania in this case.               Granting the

Commission’s request to participate as amicus curaie would not unduly delay the disposition

of this case, nor would it otherwise disrupt the course of these proceedings. This Court

recently issued an order permitting Petitioners to file a renewed Motion for Judgment and
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Confirmation of Arbitral Award; ordered respondent to file a response to that motion within

21 days thereafter; and ordered Petitioners to file any reply 14 days after the response is filed.

Order, Dkt. 50. The Commission suggests that the Court grant the Commission leave to file

an amicus brief on or before the date that Romania’s response brief is due—December 11,

2018—which would ensure Petitioners 14 days to response to the Commission’s arguments.

       12.     The Commission has filed the present Motion as soon as practicable after the

submission of Romania’s recent brief raising issues of E.U. law. The Commission assessed

that it would be to the Court’s benefit if the Commission filed this motion promptly, prior to

finalizing its brief, so that the Court would have sufficient time to craft a schedule that would

not unduly delay resolution of the case and that would be fair to the parties. In its amicus

brief, the Commission intends to make arguments similar to those that it made in the brief it

filed before the Second Circuit in Br for Amicus Curiae The Commission of the European

Union, No. 15-3109 (2d Cir. Feb. 4, 2016) (Dkt. 84).

       13.     Counsel for the Commission has conferred with Petitioners’ and Romania’s

respective counsel regarding this motion, and counsel for both Petitioners and Romania have

stated that they consent to this motion.

       14.     By submitting this motion, the Commission specifically reserves all of its

rights and does not waive any of its defenses or its sovereign immunity




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       For the foregoing reasons, the Commission respectfully requests that its motion for

leave to file the proposed amicus curiae brief be granted.

Dated: November 28, 2018


                                         Respectfully submitted,
                                          /s/ Catherine E. Stetson
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                                        Petitioners,

       v.

THE GOVERNMENT OF ROMANIA,

                                        Respondent.


                                      [PROPOSED] ORDER

       Upon consideration of The European Commission’s Motion for Leave to File a Brief

On Behalf of the European Commission as Amicus Curiae (ECF No. ___), and any response

thereto, it is on this ___ day of __________, 2018, ORDERED that the European

Commission’s Motion is GRANTED. The European Commission may file an amicus curiae

brief on or before December 11, 2018.


                                                          ___________________________
                                                          Amit P. Mehta
                                                          United States District Judge
